         Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 1 of 13




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

RAFAEL A. MOREL THEN, Individually and on
Behalf of All Other Persons Similarly Situated, Civil Action No.: 2:20-cv-800

                               Plaintiff,

                       v.

GREAT ARROW BUILDERS, LLC,                          JURY TRIAL DEMANDED

                               Defendant.


                    COLLECTIVE AND CLASS ACTION COMPLAINT

       Plaintiff Rafael A. Morel Then (“Plaintiff”), individually and on behalf of all others

similarly situated, by his undersigned attorneys, files this Collective and Class Action Complaint

(the “Complaint”) against Defendant Great Arrow Builders, LLC (“Defendant”), seeking all

available relief under the Fair Labor Standards Act of 1938 (“FLSA”), 29 U.S.C. §§201 et seq.,

and the Pennsylvania Minimum Wage Act (“PMWA”), 43 P.S. 333.101, et seq. The following

allegations are based on personal knowledge as to Plaintiff’s own conduct and are made upon

information and belief as to the acts of others.

                                        INTRODUCTION

       1.      This lawsuit seeks to recover unpaid wages and overtime compensation for Plaintiff

and other similarly situated co-workers who work or have worked for Defendant Great Arrow

Builders, LLC.

       2.      Plaintiff alleges, on behalf of himself and other similarly situated current and

former non-exempt hourly employees (collectively “Hourly Employees”) employed by Defendant

who elect to opt into this action pursuant to the Fair Labor Standards Act, 29 U.S.C. § 216(b)
         Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 2 of 13




(hereinafter the “Collective” or “Collective Action Members”), that they are entitled to, (i) unpaid

wages for all hours worked in a workweek, as required by law, (ii) unpaid overtime wages for

hours worked above 40 in a workweek, as required by law, and (iii) liquidated damages pursuant

to the FLSA, 29 U.S.C. §§ 201, et seq.

       3.       Plaintiff also brings this action on behalf of himself and all similarly situated current

and former Hourly Employees who worked in Pennsylvania pursuant to Fed. R. Civ. P. 23 to

remedy violations of PMWA (hereinafter the “Pennsylvania Class”).

                                  JURISDICTION AND VENUE

       4.       This Court has jurisdiction over Plaintiff’s FLSA claims pursuant to 29 U.S.C.

§216(b) and this Court’s Federal Question Jurisdiction 28 U.S.C. § 1331.

       5.       This Court has jurisdiction over the state law claims pursuant to 28 U.S.C. §

1332(d) and 28 U.S. Code § 1367.

       6.       Venue is proper pursuant to 28 U.S.C. § 1391 because a substantial part of the

events or omissions giving rise to the claims occurred in this District.

       7.       Upon information and belief, Great Arrow Builders, LCC is headquartered in, and

regularly conducts business in, this district.

       8.       This Court is empowered to issue a declaratory judgment pursuant to 28 U.S.C. §§

2201 and 2202.

                                           THE PARTIES

       9.       At all relevant times, Plaintiff Rafael A. Morel Then was an hourly employee of

Great Arrow Builders, LLC.

       10.      At all relevant times, Plaintiff Rafael A. Morel Then was a resident of

Pennsylvania.



                                                   2
            Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 3 of 13




        11.     During all relevant times, Plaintiff was employed by Defendant, including from

approximately December 2018 until in and around February 2019.

        12.     Defendant Great Arrow Builders, LLC is a business corporation with its principal

place of business at 1413 9th Avenue, Beaver Falls, Pennsylvania 15010-4106.

        13.     At all times relevant herein, Great Arrow Builders, LLC has been an employer

within the meaning of the FLSA and PMWA.

                                   FACTUAL ALLEGATIONS

        14.     Defendant employed Plaintiff and the Collective and Class Action Members as

Hourly Employees who perform construction work.

        15.     Defendant operated in and around Pennsylvania during the relevant time period.

        16.     Defendant maintains control, oversight, and discretion over the operations of

worksites, including employment practices with respect to Plaintiff and the Collective Action

Members.

        17.     Plaintiff and the Collective Action Members’ work as Hourly Employees was

integrated into and performed in the normal course of Defendant’s business.

        18.     Plaintiff and other Hourly Employees were paid approximately $34 per hour,

though the pay rate may vary by position and seniority.

        19.     During the relevant period, Hourly Employees were governed by common pay

policies.

        20.     During the relevant period, Great Arrow Builders, LLC paid its Hourly Employees

on an hourly basis in addition to Site Allowance pay which was paid on an hourly basis. Plaintiff

was paid an additional $14.00 per day for a Site Allowance, and other Hourly Employees were

similarly paid a Site Allowance.



                                                3
            Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 4 of 13




        21.     The Site Allowance was not discretionary.

        22.     During the relevant period, Great Arrow Builders, LLC paid time and a half

overtime but did not include the Site Allowance into the regular rate in calculating the overtime

rate.

        23.     During the relevant period, Great Arrow Builders, LLC failed to pay its Hourly

Employees the time they spent traveling from the company-controlled parking lot to the

construction site in a bus owned by the Defendant.

        24.     Plaintiff, like other Hourly Employees, was assigned to a remote company-

controlled parking lot where he was instructed to park his vehicle. Plaintiff, like other Hourly

Employees, was not allowed to park his vehicle at the construction site and was required to park

his vehicle at the remote company-controlled parking lot. Moreover, Plaintiff, like other Hourly

Employees, was not allowed to be dropped off at work at Defendant’s construction site, but rather

solely at the remote company-controlled lot.

        25.     The bus ride on Defendant’s bus from Defendant’s company-controlled parking lot

could take upwards of 20 minutes each way, both to the construction site in the morning and

returning to the lot at the end of the shift.

        26.     Defendant provided Plaintiff and other Hourly Employees with an identification

card to gain access to the company-controlled parking lot via a machine operated controlled point

of entry.

        27.     Defendant did not keep track of this time Plaintiff and other Hourly Employees

spent in the company bus driving to and from the construction site and parking lot.

        28.     This travel time was part of the duties of the Plaintiff and other Hourly Employees

during normal working hours.



                                                 4
          Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 5 of 13




       29.       During the relevant period, Great Arrow Builders, LLC paid time and a half

overtime but did not include the Site Allowance bonus into the regular rate in calculating the

overtime rate.

       30.       Consistent with Defendant’s policy, pattern, and/or practice, Plaintiff and the

Hourly Employees regularly worked in excess of 40 hours per workweek without being paid wages

for all hours worked and without being paid overtime wages, in violation of the FLSA and

Pennsylvania law.

       31.       During the entire time that Plaintiff was employed by Defendant, Plaintiff was not

paid properly for his time as detailed herein.

       32.       Defendant cannot dispute that it owed Plaintiff and Hourly Employees overtime

compensation for all hours worked over 40.

       33.       Some or all of the overtime compensation due to Plaintiff and the Hourly

Employees remained unpaid for thirty days beyond the regularly scheduled payday.

       34.       Plaintiff and all members of the Class and Collective Action were paid in the same

manner.

       35.       Defendant is aware of the totality of work that Plaintiff and the Class and Collective

Action Members performed.

       36.       This work did not require managerial responsibilities or the exercise of meaningful

decision-making on matters of significance that impacted the business and no interaction with the

management of the home office.

       37.       Throughout the Class and Collective Action periods, the primary job duties of

Plaintiff and the Class and Collective Action Members did not include hiring, firing, disciplining,




                                                   5
         Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 6 of 13




or directing the work of other employees, nor exercising meaningful, independent judgment and

discretion.

       38.     Defendant’s failure to comply with the FLSA and Pennsylvania state laws has

caused Plaintiff and the Class and Collective Members to suffer lost wages and interest therein.

       39.     Defendant is liable under the FLSA and Pennsylvania wage-and-hour statutes for,

inter alia, failing to properly pay wages, including overtime wages, to Plaintiff and similar

employees.

                      FLSA COLLECTIVE ACTION ALLEGATIONS

       40.     Plaintiff brings this lawsuit pursuant to 29 U.S.C. § 216(b) as a collective action

on behalf of the Collective Action Members as defined above.

       41.     Plaintiff desires to pursue his FLSA claim on behalf of any individuals who opt

into this action pursuant to 29 U.S.C. § 216(b).

       42.     Plaintiff and the Collective Action Members are “similarly situated” as that term is

used in 29 U.S.C. § 216(b), because, inter alia, all such individuals worked pursuant to

Defendant’s above-described common business policies and practices and, as a result of such

policies and practices, were not paid the full and legally mandated wages for all hours worked and

nondiscretionary bonuses in a workweek or the legally mandated overtime premium for hours

worked over 40 during a workweek.

       43.     Resolution of this action requires inquiry into common facts, including, inter alia,

Defendant’s common compensation, timekeeping, and payroll practices.

       44.     Specifically, Defendant failed to pay Plaintiff and the Collective Action Members

the legally required amount of overtime compensation per workweek after including the Site

Allowance pay in determining the rate, in violation of the FLSA and the regulations promulgated



                                                   6
         Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 7 of 13




thereunder, including 29 U.S.C. §§ 207(a)(1), 215(a), 29 C.F.R. § 778.104, and 29 C.F.R. §

778.211(c).

       45.     These similarly situated individuals are known to the Defendant, are readily

identifiable, and can be located through Defendant’s payroll record which Defendant was required

to maintain pursuant to the FLSA and the PMWA, see 29 U.S.C. § 211(c); 29 C.F.R. § 215.2; 43

P.S. 333.101, et seq.

       46.     Conditional certification of this case as a collective matter pursuant to U.S.C. §

216(b) is proper and necessary so that these employees may be readily notified of this action

through direct U.S. mail and/or other means including email, and allowed to opt in for the purpose

of collectively adjudicating their claims for overtime compensation, liquidated damages (or,

alternatively, interest), and attorneys’ fees and costs under the FLSA.

       47.     There are many similarly situated current and former Hourly Employees who have

not been paid proper overtime wages in violation of the FLSA and who would benefit from the

issuance of a court-supervised notice of this lawsuit and the opportunity to join it. Thus, notice

should be sent to the Collective pursuant to 29 U.S.C. § 216(b).

                    PENNSYLVANIA CLASS ACTION ALLEGATIONS

       48.     Plaintiff, on behalf of himself and all Pennsylvania Class Members, realleges and

incorporates by reference the preceding paragraphs.

       49.     Plaintiff and all Members of the Pennsylvania Class assert factually related claims,

pursuant to Fed. R. Civ. P. 23(a), (b)(2), and (b)(3).

       50.     Defendant violated the Pennsylvania wage and hour laws because it failed to pay

Plaintiff and the Pennsylvania Class for all hours worked including the travel time spent driving

back and forth to the company-controlled parking lot, and by failing to pay Plaintiff and the



                                                  7
         Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 8 of 13




Pennsylvania Class at a rate of 1.5 times their regular hourly rate including the Site Allowance pay

for hours worked in excess of 40 hours per week, pursuant to 43 P.S. 333.101, et seq.

       51.     Although the precise number of the Pennsylvania Class is unknown, Members are

readily identifiable and can be located through Defendant’s records.

       52.     Questions of law and fact common to Plaintiff and the Pennsylvania Class that will

materially advance the litigation include, without limitation:

               a. Whether Defendant employed Plaintiff and the Pennsylvania Class Members

                   within the meaning of the Pennsylvania wage and hour laws;

               b. What proof of hours worked is sufficient when the employer fails in its duty to

                   maintain time records;

               c. Whether Defendant failed to pay Plaintiff and the Pennsylvania Class for all

                   hours worked including for the time they spent on the company bus driving

                   back and forth from the company-controlled parking lot;

               d. Defendant failed to pay Plaintiff and the Pennsylvania Class overtime rates

                   including the Site Allowance pay;

               e. Whether Defendant failed to pay Plaintiff and the Pennsylvania Class the

                   legally required amount of overtime compensation for hours worked in excess

                   of 40 hours per workweek, in violation of the Pennsylvania wage and hour laws;

               f. Whether Defendant is liable for all damages claimed by Plaintiff and the

                   Pennsylvania Class, including, without limitation, compensatory, punitive and

                   statutory damages, interest, costs and disbursement, and attorneys’ fees; and,

               g. Whether Defendant should be enjoined from continuing to violate the

                   Pennsylvania wage and hour laws in the future.



                                                 8
          Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 9 of 13




        53.    Plaintiff is an adequate class representative, is committed to pursuing this action,

and has retained competent counsel experienced in wage and hour law and class action litigation.

        54.    Class certification of Plaintiff’s Pennsylvania wage and hour law claim is

appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because Defendant has acted or refused to act on

grounds generally applicable to the class, making appropriate both declaratory and injunctive relief

with respect to the Class a whole. The Members of the Pennsylvania Class are entitled to injunctive

relief to end Defendant’s common and uniform policy and practice of denying the Pennsylvania

Class the wage to which they are entitled.

        55.    Class certification of Plaintiff’s Pennsylvania wage and hour law claim is also

appropriate pursuant to Fed. R. Civ. P. 23(b)(3) because questions of law and fact common to the

Class predominate over questions affecting only individual Members of the Class, and because a

class action is superior to other available methods for the fair and efficient adjudication of this

litigation.

        56.    Plaintiff knows of no difficulty that would be encountered in the management of

this litigation that would preclude its maintenance as a class action.

                                FIRST CAUSE OF ACTION
                            FAIR LABOR STANDARDS ACT
         (Brought on Behalf of Plaintiff and All Putative Collective Action Members)

        57.    Plaintiff, on behalf of himself and all the Collective Action Members, realleges and

incorporates by reference the preceding paragraphs.

        58.    At all relevant times, Defendant has been and continues to be, an employer engaged

in interstate commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a) and 207(a).

        59.    At all relevant times, Defendant employed, and/or continues to employ, Plaintiff

and each of the Collective Action Members within the meaning of the FLSA.



                                                  9
        Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 10 of 13




       60.     At all relevant times, Defendant had a policy and practice of willfully refusing to

pay its Hourly Employees and all Collective Action Members time and a half of the regular rate

and Site Allowance pay.

       61.     Defendant willfully violated Plaintiff’s rights and the Collective Action Members

by failing to pay for all hours worked including the time that Plaintiff and other Hourly Employees

spent traveling to and from the construction site on the company-owned bus.

       62.     As a result of Defendant’s willful failure to compensate Plaintiff and the Collective

Action Members for all wages earned and for wages earned at a rate not less than 1.5 times the

regular rate of pay plus Site Allowance pay for work performed in excess of 40 hours in a

workweek, Defendant has violated and continues to violate the FLSA, 29 U.S.C. §§ 201 et seq.,

including 29 U.S.C. §§ 207(a)(1), 215(a), and 29 C.F.R. §§ 778.104.

       63.     Defendant’s conduct as alleged herein constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a).

       64.     Due to Defendant’s FLSA violations, Plaintiff and the Collective Action Members

are entitled to recover from Defendant their unpaid wages for the legally required amount of

overtime compensation for all of the hours worked by them in excess of 40 in a workweek, actual

and liquidated damages, including the employer's share of FICA, FUTA, state unemployment

insurance, and any other required employment taxes, reasonable attorneys’ fees and costs and

disbursements of this action, pursuant to 29 U.S.C. § 216(b).

                          SECOND CAUSE OF ACTION
      PENNSYLVANIA MINIMUM WAGE ACT: UNPAID OVERTIME WAGES
         (Brought on Behalf of Plaintiff and All Members of the PMWA Class)

       65.     Plaintiff, on behalf of himself and all PMWA Class Members, realleges and

incorporates by reference the preceding paragraphs.



                                                10
        Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 11 of 13




       66.      At all relevant times, Plaintiff and PMWA Class Members were employed by

Defendant within the meaning of the PMWA, and Defendant was an employer within the meaning

of PMWA.

       67.      The overtime wage provisions of the PMWA and its supporting regulations apply

to Defendant.

       68.      Defendant willfully violated Plaintiff’s rights and the rights of the PMWA Class by

failing to pay for all hours worked, including the time that Plaintiff and other Hourly Employees

spent traveling to and from the construction site and the company-controlled parking lot on the

company-owned bus.

       69.      This travel time was part of the duties of the Plaintiff and other Hourly Employees

during normal working hours and time during which an employee is employed or permitted to

work. In other words, this travel time was part of these employees’ duties and during normal

working hours.

       70.      Defendant additionally willfully violated Plaintiff’s rights and the rights of the

PMWA Class by failing to pay the overtime rate legally required of not less than one and one-half

times their regular rate of regular pay plus Site Allowance pay for all hours worked by them in

excess of 40 in a workweek in violation of the PMWA and its regulations.

       71.      As a result of Defendant’s willful violations of the PMWA, Plaintiff and the

PMWA Class Members are entitled to recover from Defendant their unpaid overtime wages,

reasonable attorneys’ fees and costs of the action, liquidated damages and pre-judgment and post-

judgment interest, including the employer’s share of FICA, FUTA, state unemployment insurance,

and any other required employment taxes, reasonable attorneys’ fees and costs and disbursements

of this action, pursuant to the PMWA.



                                                11
        Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 12 of 13




       72.       Defendant’s PMWA violations have caused Plaintiff and the Class irreparable harm

for which there is no adequate remedy at law.

                                       DEMAND FOR TRIAL BY JURY

       73.       The Plaintiff hereby demands a trial by jury.

                                        PRAYER FOR RELIEF

       WHEREFORE, Plaintiff and the Collective and Class Action Members are entitled to and

pray for the following relief:

       a. Designation of this action as an FLSA collective action on behalf of Plaintiff and the

             Collective Action Class and prompt issuance of notice pursuant to 29 U.S.C. § 216(b)

             to all similarly situated members of the Collective Action Class, apprising them of the

             pendency of this action, permitting them to assert timely FLSA claims in this action by

             filing individual Consents to Sue pursuant to 29 U.S.C. § 216(b), and tolling of the

             statute of limitations;

       b. Certification of the Pennsylvania State Law Class as class actions pursuant to FED. R.

             CIV. P. 23(b)(2) and (b)(3), and the appointment of Plaintiff and his counsel to represent

             the members of the Pennsylvania State Law Classes;

       c. A declaratory judgment that the practices complained of herein are unlawful under the

             FLSA and PMWA;

       d. An injunction requiring Defendant to cease its unlawful practices under, and comply

             with, the PMWA;

       e. An award of all unpaid wages for the time Plaintiff and members of the Pennsylvania

             State Law Class spent on the company-controlled bus driving back and forth to the

             company-controlled parking lot;



                                                  12
       Case 2:20-cv-00800-CCW Document 1 Filed 06/01/20 Page 13 of 13




      f. An award of unpaid overtime wages for all hours worked in excess of 40 in a workweek

          at a rate of one and one-half times the regular rate of pay plus the Site Allowance Pay;

      g. An award of liquidated and/or punitive damages as a result of Defendant’s willful

          failure to pay for all hours worked in excess of 40 in a workweek at a rate of one and

          one-half times the regular rate of pay pursuant to 29 U.S.C. § 216, and the PMWA;

      h. An award of damages representing the employer’s share of FICA, FUTA, state

          unemployment insurance, and any other required employment taxes;

      i. An award of prejudgment and post-judgment interest;

      j. An award of costs and expenses of this action together with reasonable attorneys’ and

          expert fees and an award of a service payment to the Plaintiff; and,

      k. Such other and further relief as this Court deems just and proper.

Dated: May 13, 2020                         Respectfully submitted,


                                            /s/ D. Aaron Rihn
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                                              13
